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                                            No. 24-2056

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                                     CARYN DEVINS STRICKLAND,
                                                                           Plaintiff-Appellant,

                                                 v.

                                      NANCY L. MORITZ, ET AL.,
                                                                       Defendants-Appellees.

                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF NORTH CAROLINA

                    PLAINTIFF-APPELLANT’S MOTION TO SEAL
                  ORAL ARGUMENT REGARDING METOO EVIDENCE



             This case involves “MeToo” complaints alleging harassment, discrimination,

       and retaliation. The information publicly available about these complaints includes

       allegations that Federal Defender Anthony Martinez used “crude language

       regarding women and members of the LGBTQIA+ community,” including by

       referring to a female Assistant United States Attorney as a “fucking bitch,” and

       that First Assistant J.P. Davis used “sexual hand gestures.” Doc. 50, at 6–10.

             Plaintiff-Appellant Caryn Devins Strickland respectfully moves to seal oral

       argument for the limited purpose of discussing MeToo evidence, if warranted as

       discussed below. Under this Court’s local rules, “[a]ny motion to seal argument


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       must be filed on the public docket at least five days before oral argument.” Fourth

       Circuit I.O.P-34.3. Otherwise, “sealed documents” “should not be included in

       argument to the Court.” Id.

             The MeToo evidence largely speaks for itself, as discussed in Plaintiff’s

       briefing. However, if Defendants continue to allege, either directly or indirectly, that

       Plaintiff’s “factual representations” are “inaccurate or, at best, misleading,” Doc. 89,

       at 36 n.8, trivialize alleged misconduct, or assert that discrimination existed only in

       “her mind,” JA2417, then discussing the substance of MeToo evidence, which

       undermines these assertions, and the reasons why the district court erred in not

       admitting it, could “significantly ai[d]” the Court’s “decisional process.” Fed. R.

       App. P. 34(a)(2)(C). The MeToo evidence remains under seal pending a decision

       from this Court on Plaintiff’s motion to unseal. See Doc. 56. Absent a ruling on that

       motion prior to oral argument, Plaintiff therefore requests that the argument be sealed

       for the limited purpose of discussing MeToo evidence, if the Court determines that

       sealing will aid the decisional process.

             Defendants stated: “Defendants defer to the Court as to whether it would assist

       the Court to address any sealed material during oral argument. If the Court

       concludes that it is necessary to discuss details of the allegations of non-parties that

       are presently under seal, defendants agree that it would be appropriate to hold a




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       closed argument session limited to that discussion.”

                                                     Respectfully Submitted,

                                                     /s/ Cooper Strickland

                                                     Cooper Strickland
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                                                     Counsel for Plaintiff-Appellant




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                              CERTIFICATE OF COMPLIANCE

             I certify that this Motion complies with the type-volume limitations of Fed. R.

       App. P. 27(d)(2) because it contains 330 words, excluding the parts exempted by

       Fed. R. App. P. 27(d)(2). This Motion complies with the typeface and type-style

       requirements of Fed. R. App. P. 27(d)(1) because it has been prepared in a 14-point,

       proportionally spaced typeface.

                                                     /s/ Cooper Strickland
                                                     Cooper Strickland




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                                 CERTIFICATE OF SERVICE

             I hereby certify that on this 23rd day of June, 2025, I electronically filed the

       foregoing document with the Clerk of the Court for the United States Court of

       Appeals for the Fourth Circuit by using the Court’s appellate CM/ECF system, which

       accomplished service on counsel of record through CM/ECF.

                                                      /s/ Cooper Strickland
                                                      Cooper Strickland




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